Case 1:23-cv-23933-FAM Document 23 Entered on FLSD Docket 01/19/2024 Page 1 of 7




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                        Case No.: 1:23-CV-23933-FAM

  SUCESIÓN SIMON DIAZ MARQUEZ,

             Plaintiff,
  v.

  MIAMI FINE FOODS, LLC and AVI ASSOR,

             Defendants.
                                                      /

  MIAMI FINE FOODS, LLC’s MOTION FOR ORDER AUTHORIZING ALTERNATIVE
  SERVICE OF PROCESS ON THIRD-PARTY DEFENDANT BETTSYMAR DIAZ AND
               MEMORANDUM OF LAW IN SUPPORT THEREOF

             Pursuant to Fed. R. Civ. P. Rule 4(e)(1), Defendant/Counter-Plaintiff Miami Fine Foods,

  LLC (“MFF”) respectfully moves for an order authorizing alternative service of process on Third

  Party Defendant Bettsymar Diaz (“Diaz”) via email and U.S. first-class mail.

  I.         STATEMENT OF FACTS

             Plaintiff/Counter-Defendant Sucesión Simon Diaz Marquez (the “Estate”) filed this action

  for trademark infringement, false association, deceptive and unfair trade practices and related

  claims against MFF and Avi Assor (“Assor”) on October 13, 2023 (Doc. No. 1). On November

  22, 2023, MFF responded to the Complaint and filed a Counterclaim and Third-Party Complaint

  against the Estate and Diaz, who directs and controls the activities of the Estate (Doc. No. 12).1

             Promptly following the initiation of this action, undersigned counsel engaged DLE Legal

  process servers to personally serve Diaz with the Third-Party Complaint. The process server

  attempted to serve Diaz at the following Miami addresses on December 19, 21 and 27, 2023 and

  January 5 and 17, 2024:


  1
      The Clerk issued the summons for Diaz on December 14, 2023 (Doc. No. 14).
Case 1:23-cv-23933-FAM Document 23 Entered on FLSD Docket 01/19/2024 Page 2 of 7




             •   3921 N. Meridian Ave, Apt. A, Miami Beach, FL 33140;

             •   1622 Bay Rd #101, Miami Beach, FL 33139;

             •   4708 NW 114th Avenue Unit 101, Miami, FL 33178; and

             •   10546 NW 51 Street, Miami, FL 33178

  See Return of Non-Service by Henry Pinto, attached hereto as Exhibit A. Each of these addresses

  was identified by Diaz in corporate records filed with the Florida Department of State, Division of

  Corporations.2 See Declaration of Avi Assor, attached hereto as Exhibit B, ¶ 3. The process server

  was ultimately unsuccessful reaching Diaz at these addresses during his numerous attempts to

  serve Diaz, which suggests that Diaz is intentionally evading service. See Ex. A.

         MFF now respectfully requests an order authorizing service of process on Diaz via email

  and U.S. first-class mail. Although MFF has been diligent in its attempts to serve Diaz, including

  requesting that the Estate’s counsel accept service on behalf of Diaz,3 MFF is not confident that it

  will be able to locate Diaz for personal service. Ex. B, ¶ 4. As detailed below, alternate service by

  email is appropriate and necessary in this case, because Diaz: (1) operates via the Internet; and (2)

  clearly relies on electronic communications as a reliable form of contact to operate the Estate’s

  business.4 MFF has the ability to contact Diaz directly and provide notice of MFF’s claims against

  Diaz electronically via email to Diaz’s known email addresses. Id., ¶ 6. Thus, MFF respectfully

  submits that an order allowing service of process and service of all filings via email (and/or mail)

  will benefit all parties and the Court by ensuring Diaz receives immediate notice of the pendency


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    Of particular interest, Diaz is also identified as the Registered Agent in the corporate filings, but
  she has not been available, despite Florida’s requirements of having a physical address in the state
  and being available during regular business hours. See Fla Stat. 607.0501.
  3
    Counsel for the Estate has refused to accept service on behalf of Diaz. Ex. B, ¶ 4.
  4
    Diaz, through the Estate, identifies her contact information as bettsimar.diaz@gmail.com on the
  Facebook page for Simon Diaz, located at https://www.facebook.com/tiosimondiaz?locale=fi_FI.
  Ex. B, ¶ 6.

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Case 1:23-cv-23933-FAM Document 23 Entered on FLSD Docket 01/19/2024 Page 3 of 7




  of this action and allowing this action to move forward expeditiously. Absent the ability to serve

  Diaz electronically, MFF will almost certainly be left without the ability to pursue a remedy. Id.,

  ¶ 7.

         In light of the substantial efforts expended to personally serve Diaz, MFF respectfully

  requests that the Court allow MFF to serve Diaz via email and U.S. first-class mail.

  II.    ARGUMENT AND CITATION OF AUTHORITIES

         Under Federal Rule of Civil Procedure 4(e), service on an individual defendant may be

  accomplished by “following state law for serving a summons in an action . . . in the state where

  the district court is located or where service is made.” Fed. R. Civ. P. 4(e)(1). Rule 4 “was designed

  ‘to provide maximum freedom and flexibility in the procedures for giving all defendants . . . notice

  of commencement of the action and to eliminate unnecessary technicality in connection with

  service of process.’” Elec. Specialty Co. v. Road & Ranch Supply, Inc., 967 F.2d 309, 314 (9th

  Cir. 1992) (quoting 4 C. Wright & A. Miller, Federal Practice and Procedure § 1061, at 216 (2d

  ed. 1987)). “Due process requires that any service of notice be ‘reasonably calculated, under all

  the circumstances, to apprise interested parties of the pendency of the action and afford them an

  opportunity to present their objections.’” Miller v. Ceres Unified Sch. Dist., No. 15-cv-0029, 2016

  WL 4702754, at *3 (E.D. Cal. Sept. 7, 2016) (quoting Mullane v. Central Hanover Bank & Tr.

  Co., 339 U.S. 306, 314 (1950)).

         “[T]he decision to issue an order allowing service by alternate means lies solely within the

  discretion of the district court.” Chanel, Inc. v. Lin, No. 08–23490, 2009 WL 1034627, at *1 (S.D.

  Fla. Apr. 16, 2009) (citing Prewitt Enters., Inc. v. Org. of Petroleum Exporting Countries, 353

  F.3d 916, 921 (11th Cir. 2003) (holding that a “district court ‘may’ direct alternative means of

  service [under Rule 4(f)(3)]”)). “After evaluating the specifics of each case, the courts of this




                                                    3
Case 1:23-cv-23933-FAM Document 23 Entered on FLSD Docket 01/19/2024 Page 4 of 7




  District have found service by email to comport with due process on a number of occasions.” U.S.

  Commodity Futures Trading Comm’n v. Rubio, No. 12-22129, 2012 WL 3614360, at *2 (S.D. Fla.

  Aug. 21, 2012) (citing cases).

         By means of the process server’s affidavit, MFF has shown that Diaz is evading personal

  service and thus traditional service cannot be effectuated on her. See Ex. A; see also Bein v.

  Brechtel–Jochim Grp., Inc., 8 Cal. Rptr. 2d 351, 353 (Cal. Ct. App. 1992) (“Ordinarily, . . . two or

  three attempts at personal service at a proper place should fully satisfy the requirement of

  reasonable diligence and allow substituted service to be made.”). Thus, an alternative method of

  service is appropriate.5 “When there is evidence that a defendant is evading service, courts are

  more willing to allow alternative methods of service.” Miller, 2016 WL 4702754, at *4. Service

  via email, mail or combination of these methods will reasonably give Diaz actual notice of this

  pending litigation. See, e.g., Licht v. Watson, 2013 U.S. Dist. LEXIS 204871 (S.D. Fla. Mar. 20,

  2013)(authorizing alternative service of process); see also Miller v. Superior Court In & For Los

  Angeles Cnty., 195 Cal. App. 2d 779, 786 (1961)(“A person who deliberately conceals himself to

  evade service of process is scarcely in a position to complain over much of unfairness in

  substitutive methods of notification enacted by the Legislature to cope with such situations”); Steve

  McCurry Studios, LLC v. Web2Web Mktg., Inc., 2014 U.S. Dist. LEXIS 65656, 2014 WL 1877547,

  at *1 (N.D. Cal. May 9, 2014)(the court allowed service of defendant by email, where defendant

  demonstrated a pattern of evading service, including the process server's eight attempts to serve

  defendant at his last-known address).




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   According to the Florida Rules of Civil Procedure, "[s]ervice of process by publication or any
  other means may be made as provided by statute." Fla. R. Civ. P. 1.070(d). Likewise, in certain
  circumstances, service by email is permitted under Florida Law. Fla. Stat. § 48.102 (2023).

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Case 1:23-cv-23933-FAM Document 23 Entered on FLSD Docket 01/19/2024 Page 5 of 7




          MFF has also shown that Diaz is “engaged in internet-based commercial activities and

  rel[ies] on email as a means of communication.” Facebook, Inc. v. Banana Ads, LLC, 2012 WL

  1038752, at *3 (N.D. Cal. Mar. 27, 2012) (“[U]nder these circumstances, service by email would

  be the best method for providing actual notice to these [d]efendants.”). MFF submits that allowing

  email service in the present case is appropriate and comports with constitutional notions of due

  process.6 Accordingly, this Court should permit electronic service on Diaz.

  III.    CONCLUSION

          For the foregoing reasons, MFF respectfully requests this Court grant the present motion

  and authorize service of the Summonses, Third-Party Complaint, and all filings and discovery in

  this matter upon Diaz in this action via email at bettsimar.diaz@gmail.com and U.S. first-class

  mail.


  DATED: January 19, 2024                      Respectfully submitted,

                                               FRIEDLAND VINING, P.A.

                                               /s/Jaime Rich Vining
                                               David K. Friedland
                                               Florida Bar No. 833479
                                               Email: dkf@friedlandvining.com
                                               Jaime Rich Vining
                                               Florida Bar No. 030932

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    Alternatively, MFF submits that Diaz may be evading service by residing, at least temporarily,
  in Venezuela, where the Estate is located. See Doc. No. 1, ¶ 7. Of particular relevance, Venezuela
  is not a signatory to the Hague Convention on the Service Abroad of Extra-Judicial Documents in
  Civil and Commercial Matters, Nov. 15, 1965, 20 U.S.T. 361. Nonetheless, this Court has
  authorized alternative service on an individual in a foreign country under Federal Rule of Civil
  Procedure 4(f)(3). See, e.g. Chanel, Inc. v. Zhixian, No. 10-CV-60585, 2010 WL 1740695, at *3
  (S.D. Fla. Apr. 29, 2010) (authorizing service by e-mail); Bialik v. Individuals Identified on
  Schedule “A,” No. 22-cv-6142-BLOOM/Valle, 2022 WL 4268594, at *2 (S.D. Fla. Sept. 15,
  2022) (same); Chanel, Inc. v. Individual, P’ship, or Unincorporated Assoc., No. 17-6241-CIV-
  MOORE, 2017 WL 8794733, at *4-5 (S.D. Fla. Dec. 13, 2017) (permitting service by website
  publication); Cassegrain v. bagsoutlet.us, No. 18-cv-62933-BLOOM/Valle, 2018 WL 10582119,
  at *1-2 (S.D. Fla. Dec. 7, 2018) (same).

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Case 1:23-cv-23933-FAM Document 23 Entered on FLSD Docket 01/19/2024 Page 6 of 7




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                                               Counsel for Defendants/Counter-Plaintiff




                               CERTIFICATE OF CONFERRAL
          Pursuant to Local Rule 7.1, undersigned counsel for Defendants/Counter-Plaintiff certifies
  that she has conferred with all parties or non-parties who may be affected by the relief sought in
  this motion in a good faith effort to resolve the issues raised herein, and states the none of the
  issues has been resolved.

                                                      /s/Jaime Rich Vining
                                                          Jaime Rich Vining




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Case 1:23-cv-23933-FAM Document 23 Entered on FLSD Docket 01/19/2024 Page 7 of 7




                                   CERTIFICATE OF SERVICE

          I hereby certify that on the above referenced date, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record or pro se parties identified on the attached Service
  List in the Manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.

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                                                 /s/Jaime Rich Vining
                                                 Jaime Rich Vining




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